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                          In the United States District Court
                              Eastern District of Arkansas
                                   Central Division

Darel Adelsberger and Annette Adelsberger                                  Plaintiffs

v.                             Case No. 4:21CV00471-JM

Union Pacific Railroad Company                                           Defendant



                               Joint Rule 26(f) Report


       In accordance with Fed. R. Civ. P. 26(f), Local Rule 26.1, and the Court’s

Initial Scheduling Order, the parties file this joint report:

       1. Any changes in timing, form, or requirements of mandatory
          disclosures under Fed. R. Civ. P. 26(a).
       Rather than the floating 14-day deadline in Rule 26(a)(1)(C), the parties

will make their Rule 26(a) disclosures September 24, 2021.

       2. Date when mandatory disclosures were or will be made.
       September 24, 2021.

       3. Subjects on which discovery may be needed.

              •   The culvert and drainage facilities at issue, including
                  maintenance;

              •   The alleged flooding to the property at issue, including the
                  hydrology associated with water moving to and from the
                  property;

              •   The impact of the alleged flooding to the property at issue;

              •   The cause of the alleged flooding to the property at issue;

              •   The alleged damage to the Plaintiffs;


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             •   The use of Plaintiffs’ property;

             •   Plaintiffs’ financial statements, business records, sales, costs of
                 sales, expenses, gross profits, net profits, and whether industry
                 or other changes have impacted Plaintiffs’ business.

             •   all other liability and damages issues.

      4. Whether any party will likely be requested to disclose or produce
         information from electronic or computer-based media.
      Not likely, as most information has already been provided in the previous

suit. Disclosure or production will be limited to data reasonably available to the

parties in the ordinary course of business. The parties will work together on

production issues. It is believed, however, that the majority of the information

will be readily available or produce-able in paper format. Unless otherwise

requested, production is limited to data reasonably available to the parties in the

ordinary course of business.


            (a)   Whether disclosure or production will be limited to data
      reasonably available to the parties in the ordinary course of business.

            Electronic disclosure or production will be limited to data
      reasonably available to the parties in the ordinary course of business.

             (b)    The anticipated scope, cost and time required for
      disclosure or production of data beyond what is reasonably available to
      the parties in the ordinary course of business.

             It is not known at this time the scope, cost, and time required for
      disclosure or production of data beyond what is reasonably available to
      the parties in the ordinary course of business. It is not anticipated that
      discovery will require information beyond what is reasonably available to
      the parties in the ordinary course of business.

            (c)   The format and media agreed to by the parties for the
      production of such data as well as agreed procedures for such
      production.



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            All electronic information that can be produced in paper hard copy
      form will be produced for the convenience of the plaintiff.

            (d)    Whether reasonable measures have been taken to preserve
      potentially discoverable data from alteration or destruction in the
      ordinary course of business or otherwise.

            Defendants Counsel for both parties have instructed their clients to
      preserve discoverable data.

            (e)   Other problems which the parties anticipate may arise in
      connection with electronic or computer-based discovery.

             No other electronic or computer-based discovery problems are
      anticipated at this time.

      5. Date by which discovery should be completed.
      April 25, 2022, with the following exceptions:

          •   Plaintiff’s expert disclosures, if any, will be due by January 25,

              2022;

          •   Defendant’s expert disclosures, if any, will be due by February 25,

              2022;

          •   Plaintiff’s rebuttal expert disclosures, if any, will be due by March

              14, 2022;
          •   The parties are aware of the notation in the proposed scheduling

              order regarding a motion to amend this order if requesting a

              change in expert disclosures, and will so file.

      6. Any needed changes in limitations imposed by the Federal Rules of
         Civil Procedure.
      None.




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      7. Any orders, e.g. protective orders, which should be entered.
      If any protective order is needed, the parties will work together and

attempt to submit an agreed order before reaching out to the Court.

      8. Any objections to initial disclosures on the ground that mandatory
         disclosures are not appropriate in the circumstances of the action.
      None.

      9. Any objections to the proposed trial date.
      Yes. Defense Counsel has another trial scheduled in Marvin Joe v. Union

Pacific set in front of this Court whereby these trials would be back to back and

make preparing for both a burden on counsel and Union Pacific. Defendant

would ask for a new trial date in one of the two cases.

      10. Proposed deadline for joining other parties and amending the
          pleadings.
      March 24, 2022.

      11. Proposed deadline for completing discovery.
      April 25, 2022, with the exceptions noted in Item No. 5 above.

      12. Proposed deadline for filing motions other than motions for class
          certification.
      May 18, 2022 for dispositive motions and Daubert motions. July 21, 2022 for

motions in limine.

      13. Class certification: In the case of a class action complaint, the
          proposed deadline for the parties to file a motion for class
          certification.
      Not applicable.




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                          Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I, Jamie Huffman Jones, hereby certify that a copy of the foregoing
has been served upon the following counsel of through the Court’s
Electronic Notification and/or mailed by United States Postal Service to
the following non-CM/ECF participant:

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                                           /s/ Jamie Huffman Jones
                                           Jamie Huffman Jones




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